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  6
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      WOO SIGNATURES, LLC, TADEH
  8   BOOGHOSIANSSARDABI, FARSHID
      KARAMZAD GOFLSAZ, and ARASH SEDIGHI
  9
 10                       UNITED STATES DISTRICT COURT
 11                     CENTRAL DISTRICT OF CALIFORNIA
 12                                 WESTERN DIVISION
 13   BOOST BEAUTY, LLC, a California           Case No. 2:18-cv-02960-CAS-E
      limited liability company,                Hon. Christina A. Snyder
 14
 15               Plaintiff,                    NOTICE OF SUBPOENA FOR
                                                THE PRODUCTION OF
 16      v.                                     DOCUMENTS TO GODADDY
 17
      WOO SIGNATURES, LLC, a California         Date:     February 5, 2020
 18   limited liability company; TADEH          Time:     10:00 AM
 19   BOOGHOSIANSSARDABI, an                    Location: ONE LLP
      individual; FARSHID KARAMZAD                        4000 MacArthur Blvd.,
 20   GOFLSAZ, an individual; ARASH                       East Tower, Suite 500,
 21   SEDIGHI, an individual; and DOES 1                  Newport Beach, CA 92660
      through 10, inclusive,
 22
 23               Defendants.
 24
 25
 26
 27
 28

                               NOTICE OF SUBPOENA TO GODADDY
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  1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2         PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure
  3   45, Defendants Woo Signatures, LLC, Tadeh Booghosianssardabi, Farshid
  4   Karamzad Goflsaz, and Arash Sedighi, through their attorneys of record, request
  5   documents be produced by GoDaddy pursuant to the concurrently served subpoena,
  6   on February 5, 2020 at 10:00 a.m. at the offices of ONE LLP, 4000 MacArthur
  7   Blvd., East Tower, Suite 500, Newport Beach, California 92660.
  8
  9   Dated: January 3, 2020               ONE LLP
 10
 11                                        By:
 12                                                Peter R. Afrasiabi
                                                   Christopher W. Arledge
 13                                                Attorney for Defendants,
 14                                                Woo Signatures, LLC, Tadeh
                                                   Booghosianssardabi, Farshid Karamzad
 15                                                Goflsaz, and Arash Sedighi
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                            NOTICE OF SUBPOENA TO GODADDY
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  1                                   PROOF OF SERVICE
  2   STATE OF CALIFORNIA, COUNTY OF ORANGE
  3         I am employed in the County of Orange, State of California. I am over the
      age of 18 and not a party to the within action; my business address is 4000
  4   MacArthur Boulevard, East Tower, Suite 500, Newport Beach, California 92660.
  5         On January 3, 2020, I caused the document(s) listed below to be served to
      the address(es) and by the method of service described as follows:
  6
  7               NOTICE OF SUBPOENA FOR THE PRODUCTION OF
                           DOCUMENTS TO GODADDY
  8
      Daruish G. Adli
  9   Drew H. Sherman
      ADLI LAW GROUP, P.C.
 10   444 South Flower Street, Suite 3100
      Los Angeles, CA 90071
 11   Email: adli@adlilaw.com
      Email: drew.sherman@adlilaw.com
 12
      Attorneys for Plaintiff,
 13   Boost Beauty, LLC
 14
      [X]          (BY EMAIL) Pursuant to the Parties’ agreement.
 15
 16         I declare that I am employed in the office of a member of the bar of this court
      at whose direction the service was made.
 17
            Executed on January 3, 2020 at Newport Beach, California.
 18
 19
 20
                                            Lisa Hyska
 21
 22
 23
 24
 25
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 27
 28
                                                3
                                 NOTICE OF SUBPOENA TO GODADDY
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          EXHIBIT A
       Case 2:18-cv-02960-CAS-E Document 72-2 Filed 01/23/20 Page 5 of 7 Page ID #:797
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   CENTRAL DISTRICT OF CALIFORNIA

BOOST BEAUTY, LLC,                                                            )
                               Plaintiff                                      )
                                  v.                                          )       Civil Action No. 2:18-cv-02960-CAS-E
                                                                              )
WOO SIGNATURES, LLC, et al                                                    )
                              Defendant                                       )

                       SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                         OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
 To: GoDaddy
     Compliance Department, GoDaddy.com, LLC, 14455 North Hayden Road., Scottsdale, AZ 85260
                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:
All websites registered by Yasha Asadpoor and/or Ani Moosakhanian.

  Place: ONE LLP                                                                        Date and Time:
  4000 MacArthur Blvd., East Tower, Suite 500                                           February 5, 2020 at 10:00 AM
  Newport Beach, CA 92660

        Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                               Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: January 3, 2020

                                  CLERK OF COURT
                                                                                           OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature
                                                                                                  Peter R. Afrasiabi (SBN 193336)
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Woo Signatures, LLC;
Tadeh Booghosianssardabi; Farshid Karamzad Goflsaz and Arash Sedighi    , who issues or requests this subpoena, are:
Peter R. Afrasiabi, ONE LLP, 4000 MacArthur Blvd., East Tower, Suite 500, Newport Beach, CA 92660; pafrasiabi@onellp.com;
(949) 502-2780
                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).                          American LegalNet, Inc.
                                                                                                                                   www.FormsWorkFlow.com
        Case 2:18-cv-02960-CAS-E Document 72-2 Filed 01/23/20 Page 6 of 7 Page ID #:798
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No. 2:18-cv-02960-CAS-E

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

               I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                  ; or

               I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $

My fees are $                                 for travel and $                                   for services, for a total of $ 0.00



          I declare under penalty of perjury that this information is true.


Date:
                                                                                                     Server’s signature



                                                                                                   Printed name and title




                                                                                                        Server’s address

Additional information regarding attempted service, etc.:




                                                                                                                                     American LegalNet, Inc.
                                                                                                                                     www.FormsWorkFlow.com
        Case 2:18-cv-02960-CAS-E Document 72-2 Filed 01/23/20 Page 7 of 7 Page ID #:799
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert’s opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
  (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,          (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
  (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,               subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




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                                                                                                                                        www.FormsWorkFlow.com
